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                           IN THE UNITED STATES DISTRICT COURT

                                  SOUTHERN DISTRICT OF IOWA

                                         CENTRAL DIVISION

     CHARLENE EGGERS, Executor of the Estate
     of Richard Eggers,
                                                        Case No.: 4:14-cv-394 CRW-SBJ
            Plaintiff,
                                                        NOTICE OF APPEAL
     v.

     WELLS FARGO BANK, N.A.,

            Defendant.




            Notice is hereby given that Plaintiff Charlene Eggers, Executor of the Estate of Richard

     Eggers, in the above-captioned matter hereby appeals to the United States Court of Appeals for

     the Eighth Circuit from an Order by the Honorable Charles R. Wolle granting summary

     judgment against Plaintiffs and thereby dismissing Plaintiff’s claims against Wells Fargo Bank,

     N.A. (ECF No. 173 and 174) entered in this action on the 27th and 31st day of October, 2016.




      Dated: November 23, 2016                  Respectfully submitted,


                                                        /s/ Thomas Newkirk

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                                    CERTIFICATE OF SERVICE
            The undersigned certifies a copy of this notice of appeal was served on the 23rd day of
     November, 2016, upon the following persons through the ECF filing system.
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